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 8
                   19           IN THE UNITED STATES DISTRICT COURT,
 9
                   20                     DISTRICT OF OREGON
10
              21                                              I
11
12
      In the Ma~ of:                                          ICaseNo      3 ; 25 ---W- 63J7, JR
23                                              39
24    VYACHESLAV STEVEN KIOROGLq~
                                                                     COMPLAINT
25    Plaintiff,                                42
                                                43                   (Breach of Public Trust, Intentional
26   vs.                                        44                   Infliction of suffering and stress, loss of
                                                45                   opportunity, Religious and Racial
27                  State of Oregon, Department6                     Discrimination)
28                  of Justice for the State of 4 7
29                  Oregon, Ellen Rosenblum, 48
30                  former Attorney General for49
31                  the State of Oregon, Kate
32                  Brown, Former Governor for
33                  the State of Oregon,
34                  Representative Hoa Nguyen
35                  for District 48, City of
36                  Portland, OR

37

38   Defendants
50

51                                               Self represented

52                                   VYACHESLAV STEVEN KIOROGLO

53                                         5931 SE EQUESTRIAN DR

54                                           PORTLAND, OR 97236

55                                VYACHESLAVKIOROGLO@GMAIL.COM

56                                                (971)818-1 937



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 1
 2           COMES NOW, Plaintiff Pro Se Vyacheslav Steven Kioroglo ("Plaintiff''), and by way of
 3   Complaint and Claim against the Defendants above-named, alleges to the Court as follows:

 4

 5                                                  PARTIES
 6                                                      1.

 7

 8    Plaintiff is a natural person, and has been a resident of the County of Multnomah and State of Oregon
 9    when the incidents occurred



11                                                      2.


12    All actions complained of herein occurred within, or had their origin or nexus within the State of
13    Oregon and all defendants were an active Governmental agencies or employees and upon information
14    and belief, conducted regular and sustained duties for the State of Oregon.
15


16                                           THE DEFENDANTS

17                                                      L
18   State of Oregon,

19   Office of the Governor

20    900 Court Street, suite 254
21     Salem, OR 97301-4047
22    503-378-4582
23   De1>artment of Administrative Services
24   Executive Building
25   J 55 Cottage Street NE
26   Salem., OR 9730t-3972
27   503-881 -2427
28   risk.management@das.oregon.gov
29
30


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 1                                                     II.

 2
 3    Depaa1ment of Justice for the State of Oregon,
 4    Ellen Rosenblum, foamer Attorney General for the State of Oregon,

 5    1163 State Street, Salem, OR 97301-2562
 6    503-947-4540
 7    AttomeyGeneral@doj.oregon.gov
 8
 9
10

11    Representative Hoa Nguyen for District 48,

12   Representative District 48
13   900 Court St. NE, H-473 ,
14    Salem, Oregon 97301
15    503-986-1448
16    Rep.HoaN guyen@oregonlegislature.gov
17
18                                                     IV.
19
20
21   City of Poailand

22   OMF Bureau of Revenue and Financial Services

23   Risk Management Division

24   11 20 SW 5th Ave, Room 1040

25   Portland OR 97204-1912
26   d: (503) 823-5256 f: (503) 823-6120
27
28   l essica.bird@portlandoregon.gov
29
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 1                                            STATEMENT OF FACTS

 2
 3
 4          On November 9, 2015 a discrimination complaint was filed with Oregon Department of
 5   Justice. This complaint, if properly addressed, would eliminate most misunderstandings at its core.
 6   Ironically, the original complaint involved a $5,000 contract with the main State and Federal
 7   sponsored organization IRCO. The complaint involved few organizations, Sulamita Slavic Church
 8   representing "Radio Svet on 1130 AM" Portland Christian radio, IRCO-main organization serving
 9   immigrant communities thus having most connections for community growth within State agencies
10   and Bustos Media of Oregon, Company that leased radio frequencies to other Slavic community radio
11   stations. l0lOAM, l 130AM,1520AM. Oregon Department of Justice was asked for an inquiry into
12   community relations, this inquiry was dismissed, I believe unlawfully. Because the above mentioned
13   parties were not addressed properly from the start, that allowed the situation to go spiral for next years
14   leading to the current situation. During the time from the first complaint to Oregon Department of
15   Justice until the "takeover" in November 2016, I've filed multiple complaints with FCC, FTC, and
16   other agencies without any real help. After many tries, in around July of 2016, (few months before the
17   termination) I started a conversation with the office of former Attorney General Ellen Rosenblum that
18   lasted until the termination process occurred in November 2018. During that period, our community
19   together with the whole United States was experiencing Russian government incursion in our political
20   life. Our shows were bombarded by hateful calls, prompting Police and FBI inquiries. It was a critical
21   time for the Department of Justice to show support and presence in the community. Not to arrest but
22   to protect. Sadly, nothing happened. On the other hand, we got a really really cold shoulder. Which is
23   understandable but not unacceptable. The fact that Oregon Department of Justice did not get involved
24   on any level the second time it was asked for help, even after seeing the situation on their own,
25   knowingly refrained itself from the situation thus placing itself in direct involvement, now knowingly
26   refusing to look at a crime committed right before their eyes. Since the "takeover" that happened in
27   November of 2016, during our legal process until around 2018 I was constantly asking Oregon
28   Department of Justice to interfere on our behalf, but my requests were always left without a reply.
29
30          In December of 2019, I filed a Police report with Portland Police Department, The report was
31   submitted with distorted facts, thus making it impossible to be evaluated correctly by the District

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 1   Attorney's office. The report was dismissed by the District Attorney office based on wrong info
 2   provided in the report by the intake officer of Portland Police Department. I was not notified of the
 3   dismissal, didn't get any contact back whatsoever.
 4              Around August of 2020 I was notified that 101 0AM radio station might be going off the air
 5   because new owners cannot pay for the rent of the frequency.
 6              On September 18 th of 2020 I've notified Oregon Department of Justice and demanded the
 7   General Attorney Ellen Rosenblum to issue a restraining order into this matter until the District
 8   attorney gets a chance to review the correct report. So the station doesn't go off the air completely thus
 9   losing its listeners and clients forever, as well as any evidence concerning my police report. At the
10   same time, I tried to update my report as I was advised by the District Attorney office in order for
11   them to review it. Little later I registered an official protest with the City of Portland and Portland
12   Police Department was notified. Oregon Department of Justice was also asked again to get involved.
13   Until December 17, 2020 I tried to submit an updated Police report through the Portland Police
14   department, but was denied the right to do so.
15              On December 18th I went before Ellen Rosenblum synagogue Beth-Israel with a peaceful
16   protest and demanded her involvement. She didn't respond, instead the next day radio station went off
17   the air.
18   I believe because Oregon Department of Justice didn't respond to my complaints even with registered
19   official protest, the Police report was not resubmitted. Because the report was not resubmitted by the
20   Portland Police Department in a timely manner. That resulted in my case not being properly
21   investigated by the District Attorney. Also I believe because Oregon Department of Justice and
22   Portland Police Department were aware of my complaints and registered protest since September 18 th '
23   of2020 as well my communications with Portland Police Department through December 17 th of 2020,
24   promising me re-submission of my updated police report, but changing it's promise on December 17th
25   of 2020, and because of my physical protest on December 18th of 2020 in front of the Synagogue
26   Beth-Israel where Attorney General Ellen Rosenblum is a member, that resulted in the closing of the
27   radio station and Slavic Community losing its alternative community media on 1010 AM. I believe
28   that was done with intention to inflict unnecessary pain and suffering and because of discrimination
29   for my beliefs, official complaints and an official registered protest.
30
31


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 1   Around August of 2022, I filed another lawsuit against Bustos Media Holdings LLC concerning my
 2   radio station on 101 0am. And on October 26 th of 2022 I've met with then acting Attorney General
 3   Ellen Rosenblum at a "Lunch with Attorney General" event. There we agreed fo r our future
 4   cooperation with the Slavic community. Then l was holding a "Business community relations"
 5   position at Slavic community Center and Slavic family radio stati on on 1040AM. We discussed a
 6   propos ition to doing radio programs for the commun ity specifically about business-consumer and civil
 7   rights laws from the Oregon Justice Department. Also we discussed ,vith the assistant our previous
 8   communications leading to the closure of 1010am radio station. And I was assured by assistant Klem
 9   Ellen over zoom meeting, that General Attorney Helen Rosenblum would review the previous ruling
10   of my case, as well as situation with the closing of the station in 2020 and would respond in writing to
11   my request. This explanation was submitted to the Judge Howes in Multnomah County Circuit court
12   when I asked fo r Ex Parte Motion for Continuance, to allow me more time to present evidence for my
13   case as well to have enough time for General Attorney Helen Rosenblum for her review and answer
14   letter to me, which was necessary for the court's decision.
15   On November 18th, 2022 I had a court hearing about the case#22cv25866. I was gi ven time until
16   December 2nd, 2022 to provide evidence. On December 2nd, 2022 I've asked court for continuance
17   and I explained that I have been in contact with General Attorney of Oregon, Helen Rosenblum
18   through her both assistants, and I am waiting for the response on review of my previous case #
19   l 7cv32035 ruling. Because the opposing party has submitted a ruling from the previous Judgment for
20   anti-slap motion, in order to stop the new case going further.
21   Before December 1, 2022, we had many email correspondences and even 30min zoom conference
22   with an assistant to Ellen Rosenblum of Oregon Department of Justice. But, when I sent them all the
23   required paperwork for review on December 1st, 2022, the office of Oregon Department of Justice
24   stopped communicating with me all together, even for the programming that we discussed concerning
25   our community. This pattern of their behavior was a direct discrimination and a total breach of public
26   trust, as well as intentional Infliction of pain and suffering, the loss of opportunity for me to work for
27   our community on Slavic Family radio station at Slavic community center. As well their repeated
28   failure to respond as they have promised has resulted in not submitting my evidence to the court on
29   time thus resulting in a dismissal of my case by the Circuit court Judge of Multnomah county. I
30   Believe and now know this was a violation of not only my consumer rights, or citi zen 's rights, but also
31   human rights. And again proves their discrimination and supports my other claims.


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 1   I have filed two Tort claims with the Oregon Department of Justice because of their actions, since our
 2   correspondence have started. My first Tort claim against the State of Oregon had an explanation about
 3   the General Attorney's offi ce not responding to my discrimination complaints, which resulted in loss
 4   of my business and community radio station. After our second engagement and their repeated refusal
 5   to work with me I have filed and updated second Tort claim with the State of Oregon, because now it
 6   has become a pattern and a clear proof of their targeted negligence and supports my other claims.
 7   Breach of Public Trust, Discrimination, Loss of opportunities and infliction of unnecessary suffering
 8   and stress to me and my family, as well to our community that the radio was serving ..
 9          On Ap1il 2022, I've sent a Petition to Governor Kate Brown, and the Democratic party of
10   Oregon about the situation with our community Radio Station and explained in full who we are and
11   that we are facing discrimination and need their help. That email was never answered, never there was
12   any contact back. That is why they are connected as defendants to this complaint. Because their refusal
13   to respond to a petition representing part of the community, puts them as supporters of discriminatory
14   actions by the ruling party of Oregon.
15          In April 2023, I have met with Legislative Aide, Representative Hoa Nguyen , Oregon State
16   Legislature, House District 48, Representative of my home district and asked her for a letter of support
17   to Oregon Department of Justice through her assistants . Also. I've have explained that we are facing
18   discrimination from Oregon Department of Justice and was assured she would try to help us get some
19   answers. We also talked about doing programs on my english language slavic community show that I
20   have on Portland's community station KBOO. and Also submitted to her office my Petition to
21   Governor Kate Brown and the Democratic Party, and asked her for help with presenting a bill to
22   Oregon legislatw·e for a special protected status against discriminating peopl e with similar beliefs,
23   because of our previous years dealing and not getting proper response from Oregon Justice
24   Department and many other State and Federal agencies. Those communications, even though started
25   pleasantly, but also ended up with no radio programs for our community, with them stopping
26   responding to my emails. That is ·why they are also defendant's on this case.
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 1                                                 DAMAGES
 2                                  NOTICE OF RIGHT TO AMEND
 3
 4          The Plaintiff believes, upon information and relief, that discovery herein may reveal
 5   additional causes of action, and/or additional defendants. Plaintiff reserves the right to amend his
 6   complaint to reflect such additional causes of action and/or additional defendants as may be
 7   appropriate. Plaintiff further alleges that the actions of the Defendants, as set forth above, were so
 8   egregious, so undertaken with malice, and/or a reckless and outrageous indifference to a highly
 9   unreasonable risk of harm, so in conflict with public policy, and that the Defendants have acted with
10   such a conscious indifference to the health, and/or safety, and/or welfare of the Plaintiff, that the
11   Plaintiff should be permitted to seek punitive damages. Plaintiff therefore hereby provides notice of
12   his intent to move this court, pursuant to the provisions of ORS 31. 725(2), to be permitted to further
13   amend his Complaint herein, so as to seek an award of punitive damages. The actions described
14   above by the Defendants constituted Breach of Public Trust, Intentional Infliction of suffering and stress,
15   loss ofopportunity, Religious and Racial Discrimination . As a direct, proximate, and foreseeable result of
16   the Defendants' , the Plaintiff has lost almost 10 years' worth of projected income, in addition,
17   because of loosing my business and their ignorance to my official complaints, I was diagnosed with
18   severe depression and had to go through a treatment with a professional counselor for more then a
19   year. My family went through almost loosing our house, eventually resulting in modification of our
20   loan from 3.5% to 7.25% intrest ratec which added around $1000 extra payment to our mortgage for
21   next 30 years, plus accumulation of late fees around $100,000, plus a back repayment of around
22   $100,000. Additionally more then $100,000-$200,000 were added as a leans on our home for lawyer
23   fees , repossession of vehicle, credit cards payments, etc. Additionally , the final loss of ability to
24   lawfully return my station back through Oregon's court system because of it's closing in December
25   2020, eliminated the ability to work in the future for the community, thus working in my profession
26   that I have spent more then a dacade preparing for. The Plaintiff is therefore entitled to a judgment
27   and money award in his favor and against the Defendants, in the sum of $10,000,000 or such other
28   reasonable amounts that would be enough to restart new radio station, hire back new employees,
29   compete with grown competitor's radio stations and other community organizations. As well to
30   reestablish trust with community organizations, public listeners, reputation and everything that has
31   to do with corning back into the public spotlight.


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 1                                           1.BREACH OF PUBLIC TRUST
 2
 3   Oregon Revised Statutes (ORS) 130.800 and 130.805 are related to breach of trust:


 4       • ORS 130.800: Remedies for breach of trust
 5       • ORS 130.805 : Damages for breach of trust
 6
 7                         2. INTENTIONAL INFLICTION OF SUFFERING AND STRESS


 8   Oregon Revised Code (ORS) 426.385 covers intentional infliction of physical pain or injury. ORS
 9   31 .710 also allows victims of emotional distress to seek non-economic damages in court.


10                                             3. LOSS OF OPPORTUNITY


11   Oregon Revised Statute (OR.SJ 31.225 outlines the requirements for proving special dan1ages in
12   defamation cases. which can include lost business opportunities. This law ensures that plaintiffs can
13   only recover financial compensation for losses that are directly linked to the defamatory statement.


14                     4. RELIGIOUS AND RACIAL EMPLOYMENT DISCRIMINATION


15   A civil action under ORS 659A.885 (Civil action) against a public body, as defined in ORS 30.260
16   (Definitions for ORS 30.260 to 30.300), or any officer, employee or agent of a public body as defined
17   in ORS 30.260 (Definitions for ORS 30.260 to 30.300), alleging a violation of ORS 243 .323
18   (Prohibition against entering into agreement with employee that prevents employee from discussing
19   workplace harassment), 659A.030 (Discrimination because of race, color, religion, sex, sexual
20   orientation, gender identity, national origin, marital status, age or expunged juvenile record
21   prohibited), 659A.082 (Discrimination against person for service in uniformed service prohibited) or
22   659A. l 12 (Employment discrimination) must be commenced not later than five years after the
23   occurrence of the alleged violation unless a complaint has been timely filed under ORS 659A. 820
24   (Complaints).
25

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 1



 2                                                    TIMELINE

 3
 4   1. 12-31-13 First FCC discrimination complaint 1130 AM radio svet

 5   2. 08-27-15 FCC defamation complaint Slavic Family radio 1130AM

 6   3. 11-09-15 DOJ discrimination complaint filed $5000 IRCO contract

 7   4. 07-12-16 DOJ replied to discrimination complaint denied review

 8   5. 08-01-16 first Request to the DOJ for Interview, 11-07-16 rescheduled for December. 11-16-16

 9         lost station.12-13-16 2ND request for DOJ investigation.12-22-16 DOJ sent my complaint to

10         Consumer complaint dept for review ...

11   6. 03-21-18 Senator Thomson investigation results from DOJ/denial

12   7. 09-21-19 OREGON DISCRIMINATION STATUTE OF LIMITATION RAISED TO 5 YEARS

13   8. 12-6-19 Filed police report with PPD

14   9. 02-1-20 Found out that Police report was wrong

15   10.          09-08-20 Trying to register protest with PDX/

16   11.          09-18-20 Transferred to PPD for protest info

17   12.          09-18-20 DOJ restraining order request to stop closure of1010 AM, transferred to no

18                reply email registered protest with City of Portland-Transferred to PPD for protest info.

19   13.          09-25-20 Asked PPD to updated report to District attorney after speaking with DOJ

20   14.          10-13-20 Trying to update police report until Dec, 9 2020

21         Tashia.Hager@portlandoregon.gov

22   15.          12-17 -20 Protest in front of Beth Israel

23   16.          12-18-20 RR7/Nashe Radio went off the air

24   17.          12-24-20 Petition to Move to Israel/Asylum

25   18.          03-01-21 Acker took the case

26   19.          12-27-21 File Tort with State
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 1   20.           01-17-22 Acker dismissed

 2   21.           02-01-22 Petition to Governor Kate Brown

 3   22.           02-16-22 automatic funny reply two years later from Portland Police Department

 4         Brian.Hughes<@portlandoregon.gov

 5   23.           04-21-22 Petition to Mayor/ Slavic Advisers

 6   24.           05-17-22 Oregon Tort sent to adjuster

 7   25.           08-05-22 Bustos 2nd case filed

 8   26.           08-22-22 District attorney Mike Schmidt reply confirmed PPD responsibility to submit

 9         updated police report

10   27.           10-26-22 Met with Ell en Rosenblum at the Jewish event

11   28.           11-09-22 Klem Ellen set zoom for Dec 1 after rescheduling from Nov 17. Asked to do

12         radio programs for DOJ for Slavic consumers on 1040AM

13   29.           12-01-22 Zoom meeting with DOJ Ellen Klem, promise for Attorney General Personal

14         response and promise for legal shows from OJD and OSB on Slavic Family radio. 30

15         conversation Ellen Klem jokingly sends me to the Russian embassy. I had to re prime her by

16         letting her know I am an American citizen.

17   30.           12-16-22 contacted Edmunson Kristina DOJ assistant,out of the office reply

18   31.           12-20-22 contacted Ellen Klem DOJ, out of office reply till Jan 3rd

19   32.           02-06-23 Multnomah Court denied continuation request,

20   33.           02-07-23 final request to DOJ to respond for my court by 02-10-23 , Tort claim restart

21         date set

22   34.           02-24-23 refiled Tort claim with State/new updated

23   35.           03-23-23 Tort claim denial letter

24   36.           4-14-23 Representative Hoa Nguyen Asked for assistance, transferred to Oregon Trial

25         lawyers association for help .. . until 05-3 1-23

26   37.           08-23-23 Final PDX Tort



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 1   38.      Tried to contact Beth Israel got transferred to Special Agent in charge at DOJ

 2   39.      08-23-23 Rich Austria special agent in charge replied after a phone call I asked him to

3      ask PPD for review of my case. (Told to go to court)

4    40.      05-17-24 Final replay from DOJ(risk management) denying any wrongdoing

 5
 6

 7

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10
11                  DATED,df-1 ( --2~ this day_:l_,,,___ _ of , 2025 .
12

13                                               Vyaclies av Steven Kioroglo, Plaintiff Pro Se
14
15                                               5931 SE Equestrian Drive
16                                               Portland, Oregon 97236
17                                       vyacheslavkioroglo@gmail.com
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19
20




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